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                                 3cvUNITED STATES DISTRICT COURT
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                                 WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
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        GABRIELLA SULLIVAN et al.,                            CASE NO. 3:22-cv-05403-DGE
11
                                 Plaintiffs,                  MINUTE ORDER
12              v.
13      BOB FERGUSON et al.,
14                               Defendants.

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16          The following Minute Order is made by direction of the Court, United States District

17   Judge David G. Estudillo:

18          The Court, having reviewed the parties’ responses to the order to show cause (Dkt. No.

19   82), determines that appointing an expert witness pursuant to Federal Rule of Evidence 706 to

20   assist the Court is not necessary at this time.

21          The Court reserves the right to appoint a court-appointed expert in the event it seeks

22   further clarification of the evidence and testimony put forward by the parties’ experts. The Court

23   appreciates the concerns raised by several of the parties as to the appropriateness of utilizing a

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     MINUTE ORDER - 1
                Case 3:22-cv-05403-DGE Document 89 Filed 02/17/23 Page 2 of 2




 1   court appointed expert in the Bruen context, as well as the practical difficulty of finding such an

 2   expert.

 3             Dated this 17th day of February, 2023.

 4             The foregoing Minute Order authorized by THE HONORABLE DAVID G.

 5   ESTUDILLO, UNITED STATES DISTRICT JUDGE.

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